                       UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA
                             DURHAM DIVISION

AMY BRYANT, MD,                        )
                                       )
       Plaintiff,                      )
                                       )
v.
                                       )
JOSHUA H. STEIN, in his official       )
capacity as Attorney General for the   )
State of North Carolina, et al.,       )
                                                       Case No.
                                       )
                                               1:23-cv-00077-CCE-LPA
       Defendants,                     )
                                       )
and                                    )
                                       )
TIMOTHY K. MOORE and
                                       )
PHILIP E. BERGER,
                                       )
       Intervenors.                    )
                                       )


          SUPPLEMENTAL BRIEF IN SUPPORT OF PLAINTIFF’S
        MOTION FOR SUMMARY JUDGMENT AND IN OPPOSITION
         TO INTERVENORS’ MOTION FOR SUMMARY JUDGMENT




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                                     INTRODUCTION

       As part of its meticulous, statutorily mandated review of the Mifepristone REMS, FDA

has rejected the very restrictions North Carolina imposes. Consistent with its duty under the

REMS statute, FDA has sought to reduce burdens on patient access and the healthcare

system—particularly for “patients who have difficulty accessing health care (such as patients

in rural or medically underserved areas),” 21 U.S.C. § 355-1(f)(2)(C)(ii)—by facilitating access

to mifepristone through telemedicine, including by certifying pharmacies to dispense

mifepristone and eliminating in-person visits under the REMS, Ex. A at 4. 1 North Carolina’s

requirements frustrate those objectives and conflict with FDA’s considered judgments. See

Geier v. Am. Honda Motor Co., 529 U.S. 861, 878-82 (2000) (finding conflict preemption where

state sought to impose requirement agency had deliberately rejected); Wyeth v. Levine, 555 U.S.

555, 581 n.14 (2009) (distinguishing Geier because FDA “did not consider and reject”

additional warnings); Bethlehem Steel Co. v. N.Y. State Labor Rels. Bd., 330 U.S. 767, 774 (1947)

(state regulation preempted where federal agency determines “that no such regulation is

appropriate or approved pursuant to the policy of the [federal] statute”).

       At the January 17 hearing, the parties agreed that the issues in this case are purely legal,

and the Court converted intervenors’ motion to dismiss to cross-motions for summary

judgment. Dr. Bryant files this supplemental brief to further address certain issues raised at

the hearing.



1 “Ex. __” refers to exhibits attached to the amended complaint (Doc. 82) and page numbering

added by CM/ECF.




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                                        ARGUMENT

I.     Minimizing burdens on patient access and the healthcare system is a central
       objective of the REMS statute.

       Intervenors dispute that Congress’s objectives in the REMS statute include ensuring

patient access to drugs that FDA has determined to be safe and effective. E.g., Tr. 25:6-16

(“[T]he purpose of the FDCA, including the FDAAA, is safety.”); id. at 16:8-10. Intervenors

are mistaken.

       The FDCA has always included access as one of its objectives. The statute as a whole

is concerned with ensuring patient access to safe and effective drugs. It describes FDA’s

mission as “promot[ing] the public health” by “promptly,” “efficiently,” and “timely”

reviewing new-drug applications, which underscores that promoting access is a key statutory

objective. 21 U.S.C. § 393(b)(1); see id. § 379g note (“prompt approval of safe and effective

new drugs … is critical to the improvement of the public health so that patients may enjoy the

benefits provided by these therapies”); Zogenix, Inc. v. Patrick (“Zogenix II”), 2014 WL 3339610,

at *4 (D. Mass. July 8, 2014) (state laws are preempted when they “prevent the accomplishment

of the FDCA’s objective that safe and effective drugs be available to the public”). 2


2 Although Zogenix involved a REMS drug (Zohydro), the court did not mention the REMS

statute or limit its reasoning to REMS drugs. It preliminarily enjoined a state regulation that
would have made Zohydro “less available” by imposing prescribing restrictions not required
by FDA. Zogenix II, 2014 WL 3339610, at *4. It did not enjoin a regulation providing for
pharmacist-only handling of Zohydro because Zogenix failed, at the preliminary-injunction
stage, to support its argument that the regulation would be a “de facto ban.” Id. at *2-3, *5.
And contrary to intervenors’ assertion that the court found the state’s “BORIM” and
“BOR[O]PA” regulations “not problematic,” Tr. 11:13-12:2, the court found that Zogenix
had “waived any objections to the BORIM and BOROPA regulations” and thus did not
consider them. Zogenix, Inc. v. Baker (“Zogenix IV”), 2015 WL 1206354, at *3 (D. Mass. Mar.
17, 2015).


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        With respect to the REMS statute Congress enacted in 2007, there is overwhelming

textual evidence that ensuring patient access and minimizing burdens on the healthcare system

is a central objective. See Tr. 40:17-41:23. Under the heading “Assuring access and minimizing

burden,” Congress directed FDA to ensure that any restrictions imposed on a REMS drug are

(i) “commensurate” with the drug’s risks—meaning sufficient, but not greater than necessary,

to assure safety; (ii) not “unduly burdensome on patient access to the drug”; and (iii) designed

to “minimize the burden on the health care delivery system.” 21 U.S.C. § 355-1(f)(2).

Congress directed FDA to consult with patients and providers about how to avoid unduly

burdening “patient access to the drug” or “the health care delivery system,” id. § 355-1(f)(5)(A),

and to consider specifically the burdens on “patients who have difficulty accessing health care

(such as patients in rural or medically underserved areas),” id. § 355-1(f)(2)(C)(ii). And

Congress commanded FDA to regularly reevaluate any restrictions and eliminate those that

are unduly burdensome on “patient access to the drug” or “the health care delivery system.”

Id. § 355-1(f)(5)(B)-(C), (g)(2)(C), (g)(4)(B). In the face of this evidence, it is implausible to

maintain that patient access was not a significant congressional objective animating the REMS

statute. 3

        Intervenors ultimately concede that the REMS statute evinces congressional concern

with ensuring patient access and minimizing burdens on the healthcare system. E.g., Tr. 85:18-


3 Intervenors insist Congress enacted FDAAA because of safety concerns about Vioxx
(Tr. 85:24-86:1). Although that background may explain Congress’s decision to enhance
FDA’s post-approval authorities not at issue here (e.g., 21 U.S.C. § 355(o)), the REMS statutory
text makes clear that Congress was also concerned FDA might react too conservatively and
unduly restrict patient access.


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19 (“[A]bsolutely, the FDA has to consider access.”). They dismiss those concerns, however,

because the relevant provisions are “directed to the Secretary” of Health and Human Services,

not the States. Tr. 16:11-13. But the absence of an express directive to the States does not

distinguish this case from other implied-preemption cases. The statute in Geier directed “[t]he

Secretary” of Transportation to “establish … appropriate Federal motor vehicle safety

standards.” 15 U.S.C. § 1392(a) (1988). That did not stop the Court from concluding, under

“ordinary pre-emption principles,” that a State was preempted from imposing the same all-

airbag standard the Secretary had deliberately rejected. 529 U.S. at 871; see id. at 884 (conflict

preemption does not require “an express statement of pre-emptive intent”); PLIVA, Inc. v

Mensing, 564 U.S. 604, 621 (2011) (“The Supremacy Clause … makes federal Law ‘the supreme

Law of the Land’ even absent an express statement by Congress.”).

II.    The 1962 saving clause is irrelevant.

       Intervenors lean heavily on the saving clause added with the 1962 FDCA amendments.

E.g., Tr. 9:23-10:1, 25:6-10, 88:5-14. But that clause is expressly limited to addressing

preemption under the 1962 amendments, and says nothing about the scope of preemption under

the REMS statute that Congress enacted 45 years later:

               Nothing in the amendments made by this Act to the Federal Food,
               Drug, and Cosmetic Act shall be construed as invalidating any
               provision of State law which would be valid in the absence of such
               amendments unless there is a direct and positive conflict between
               such amendments and such provision of State law.

Drug Amendments of 1962, Pub. L. No. 87-781, § 202, 76 Stat. 780, 793 (emphases added).

Congress enacted this amendment-specific language after rejecting language that would have

applied to the Act as a whole, explaining that the change was intended to “make[] the provision


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applicable only to the amendments.” H.R. Rep. No. 87-2526, at 26 (1962) (Conf. Rep.). And

when Congress enacted the REMS statute decades later, it rejected anti-preemption language

based on concerns about allowing “States to impose different REMS requirements than those

imposed by the FDA.” Hearing Before Subcomm. on Health, H. Comm. on Energy & Com., 110th

Cong. 50 (2007) (Rep. Pitts).

         Intervenors do not dispute that the text of the 1962 saving clause applies only to the

1962 amendments, but they insist that Wyeth “applied it to a general labeling statute that [was

not] part of the 1962 amendments.” Tr. 88:10-13. That is wrong: Wyeth addressed the

preemptive effect of the very labeling-review regime created by the 1962 amendments. See

555 U.S. at 567. By contrast, the Court noted that the 2007 amendments (including the REMS

statute) were enacted “after Levine’s injury and lawsuit” and so were not at issue. Id.

         Moreover, even if the saving clause applied, it would not “bar[] the ordinary working

of conflict pre-emption principles.” Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 352

(2001) (cleaned up). Wyeth confirms this: Even though the saving clause applied there, the

Court analyzed the claim using traditional principles of obstacle preemption. 555 U.S. at 573-

81. 4




4 At the hearing, intervenors cited Southern Blasting Services, Inc. v. Wilkes County, 288 F.3d 584

(4th Cir. 2002), for the proposition that “direct and positive conflict means something close
to impossibility.” Tr. 91:6-14. But Southern Blasting was decided pre-Wyeth and involved very
different facts: a saving clause with stronger anti-preemption language, and a responsible
federal agency that issued regulations expressly stating that it did not intend to preempt more
stringent state-law requirements. See 288 F.3d at 590, 592. Regardless, Southern Blasting is
irrelevant because the 1962 saving clause does not apply here at all.


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III.    The Court should enjoin enforcement of the challenged requirements.

        Pursuant to its congressionally delegated REMS authority, FDA has imposed a precise

set of controls on mifepristone and has rejected additional controls that it has determined are

not necessary for safe use and would be unduly burdensome on patient access and the

healthcare system. To that end, FDA has eliminated “in-person” requirements and instead

sought to facilitate patient access through telemedicine and pharmacy dispensing. North

Carolina may not impose controls—including those, like in-person administration and

dispensing, that FDA has specifically rejected—that upset the carefully balanced federal

regulatory scheme.

        At the hearing, counsel provided a chart summarizing the challenged provisions of

North Carolina law. For the convenience of the Court and other parties, a copy of the chart

is attached. See Addendum. As explained, Tr. 63:15-75:25, the Court should declare the

following state-law requirements preempted and enjoin their enforcement:

        In-person examination, administration, and dispensing. North Carolina requires

a physician providing mifepristone to “examine the woman in person” and “be physically

present in the same room as the woman when the first drug or chemical is administered.”

N.C. Gen. Stat. (hereinafter “G.S.”) §§ 90-21.83A(b)(2)a, 90-21.83B(a). And it effectively

requires in-person dispensing by imposing strict-liability penalties on persons supplying

mifepristone “in violation of” the in-person administration requirement and by providing that

“[l]ack of knowledge or intent that [mifepristone] will be administered outside the physical

presence of a physician shall not be a defense.” Id. § 14-44.1(a)-(b).

        FDA has considered and rejected these requirements. The initial mifepristone approval


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required physicians to both dispense and administer the drug in person. FDA’s 2016 REMS

modification eliminated the in-person administration requirement. Compare Ex. H at 10 with

Ex. N at 8. And FDA’s 2023 REMS modification eliminated the in-person dispensing

requirement. Compare Ex. N at 3 with Ex. A at 3-5, 12-14. As FDA concluded, “the removal

of the in-person dispensing requirement and the addition of a requirement for pharmacy

certification[] will continue to ensure the benefits of mifepristone for medical abortion

outweigh the risks while minimizing the burden imposed by the REMS on healthcare

providers and patients.” Ex. T at 14; see also Ex. P at 7, 36 (FDA explaining that it “undertook

a full review of the Mifepristone REMS Program” and concluded that “the REMS must be

modified to remove the in-person dispensing requirement, which would allow, for example,

dispensing of mifepristone by mail via certified prescribers or pharmacies.”). FDA also

rejected “requir[ing] certified providers to physically meet with and examine the patient.”

Ex. P at 13; see also id. at 36 (patient evaluation does not “require direct physical contact with

the certified prescriber”). 5

       In-person 72-hour advance consultation. North Carolina requires that prescribers

meet with the patient “in person” at least 72 hours in advance to explain the use and risks of

mifepristone and obtain informed consent. G.S. §§ 90-21.83A(b)(1)-(2) & (5), 90-21.90(a).

FDA has rejected an in-person informed consent requirement. Compare Ex. N at 8 (requiring


5 Intervenors point to FDA’s 2020 statements in unrelated litigation that the in-person
dispensing requirement was necessary and not unduly burdensome. Tr. 20:19-21:1, 29:3-6.
Those statements are irrelevant. They predate FDA’s reevaluation and rejection of that
requirement, consistent with its statutory duty to review REMS restrictions and eliminate those
that unduly burden patient access.


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signature after counseling in person) with Ex. A at 11 (language removed). And North

Carolina’s in-person consultation requirement frustrates FDA’s facilitation of patient access,

including through telemedicine. As FDA explained, “[a] certified prescriber can … review the

Patient Agreement Form with the patient, fully explain the risks of the mifepristone treatment

regimen, and answer any questions, as in any consent process, without physical proximity.”

Ex. P at 13. Moreover, FDA has never required that a mifepristone prescriber obtain informed

consent 72 hours in advance, and that requirement conflicts with FDA’s 2016 decision to

“extend the maximum gestational age” for mifepristone’s indicated use “to 70 days,” Ex. P

at 4, effectively shortening the approved period by three days.

       In-Person Follow-Up. North Carolina requires mifepristone prescribers to schedule

in-person follow-up visits 7-14 days after administration and make and document “all

reasonable efforts to ensure” that patients return for follow-up appointments. G.S. § 90-

21.83B(b); see G.S. §§ 90-21.83A(b)(4)l, 90-21.93(b)(8)-(9). FDA rejected a similar requirement

in 2016 (compare Ex. H at 10 with Ex. N at 8) after concluding that medication abortion does

not “always require[] in-person follow-up” and that “follow-up can be performed by

telephone.” Ex. P at 14-16 (citing, inter alia, 2016 Clinical Review at 44, 64-67, available at

https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020MedR.pdf).

This requirement frustrates FDA’s efforts to minimize burdens on patient access and

healthcare systems, including by facilitating telemedicine.

       Physician-Only Restriction. North Carolina provides that only a physician can

“prescribe, dispense, or otherwise provide” mifepristone, excluding nonphysician

practitioners who have prescriptive authority under state law. G.S. § 90-21.83A(b)(2)a; see also,

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e.g., id. § 90-21.93(b)(1). 6 FDA removed a similar requirement from the Mifepristone REMS

in 2016 (compare Ex. H at 8 with Ex. N at 6) after concluding that mifepristone “is safe and

effective when prescribed by midlevel providers, such as physician assistants, as well as by

physicians.” Ex. P at 10-11 (citing, inter alia, 2016 Clinical Review at 43, 79); see id. at 25 (“we

do not agree … that the healthcare provider needs to be a licensed physician”). Intervenors

point to FDA’s statements on a Q&A website that nonphysician practitioners must be allowed

to “prescribe medications” under their states’ laws to become certified prescribers under the

Mifepristone REMS. MTD Reply at 3 n.3 (quotation marks omitted); Tr. 13:1-9. That is

consistent with Dr. Bryant’s position here. Just as FDA does not decide who should be

licensed as a physician under state law, it does not decide who should have general prescribing

privileges under state law. But a State may not single out one REMS drug and declare that

practitioners who are authorized under state law to prescribe all other medicines may not

prescribe that particular drug, in conflict with FDA’s considered judgment under the REMS

statute.

           Ultrasound Requirement. North Carolina requires an ultrasound for every patient

prescribed mifepristone.       G.S. §§ 90-21.83A(b)(2)b, 90-21.93(b)(6); 10A Admin. Code

§ 14E.0305(d). FDA has rejected such a requirement, explaining that it “carefully considered

the role of ultrasound” and “determined that it was inappropriate” to mandate ultrasound.

Ex. E at 19; see also Ex. D at 6 (“The labeling recommends ultrasound evaluation as needed,



6 Many other provisions of North Carolina law reinforce this requirement by referring to “the

physician” who provides mifepristone.


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leaving it to the medical judgment of the physician.”); Ex. P at 12 (“the determination of

gestational age does not always require an ultrasound”). And North Carolina’s law necessarily

entails in-person office visits, frustrating FDA’s efforts to minimize patient access burdens,

including by facilitating telemedicine.

       Blood-Type Determination Requirement. North Carolina requires a physician to

“[d]etermine the woman’s blood type” before providing mifepristone. G.S. § 90-21.83B(a)(2).

FDA has never required a blood-type determination as a prerequisite to prescribing

mifepristone, even though under the REMS statute “documentation of safe-use conditions,

such as laboratory test results,” will be required if commensurate with known risks and not

unduly burdensome. 21 U.S.C. § 355-1(f)(3)(D). Imposition of this requirement when a

patient does not already know her blood type could require in-person testing, which would

frustrate FDA’s efforts to minimize patient access burdens, including by facilitating

telemedicine. While intervenors cite (at Tr. 31:21-23) FDA’s statement that “Rh testing” may

be appropriate in some cases, this only confirms that FDA has considered the issue and has

deliberately chosen not to mandate blood-testing under the REMS.

       H eightened adverse-event reporting requirement.              North Carolina requires

reporting of all “complications” associated with mifepristone to the State and of all “adverse

events” to both the State and FDA, and defines both terms extremely broadly. G.S. § 90-

21.93(b)(10), (c); see id. § 90-21.81(1b) (“adverse event” includes any “untoward medical

occurrence … whether or not considered drug related”); id. § 90-21.81(2a) (“complication”

includes any “physical or psychological conditions” that “arise as a primary or secondary result

of an induced abortion”). These requirements impose burdens that FDA has rejected. In

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2016, FDA modified the Mifepristone REMS to eliminate the requirement for prescribers to

report nonfatal adverse events. Compare Ex. H at 8 with Ex. N at 6. FDA explained that it had

“assessed approximately 15 years of adverse event reports … and determined that” mandatory

prescriber reporting of nonfatal events was “not warranted” in light of “the well-characterized

safety profile of [mifepristone], with known risks occurring rarely.” Ex. P at 21. Moreover,

requiring prescribers to report nonfatal adverse events to FDA forces the agency to receive

and process “a deluge of information that [it] neither wants nor needs,” Buckman, 531 U.S. at

351, impeding FDA’s ability to distinguish signal from noise. 7

                                      CONCLUSION

       Dr. Bryant respectfully requests that the Court grant her summary judgment, enter a

declaratory judgment that the challenged requirements of North Carolina law are preempted,

and permanently enjoin defendants from enforcing the challenged requirements.




7 Mifepristone sponsors still must report any “serious and unexpected” adverse events to FDA

within 15 days and other adverse events annually. 21 C.F.R. § 314.80(c)(1)-(2). FDA has
determined that this reporting paradigm is appropriate for identifying safety issues. FDA,
New Drug and Antibiotic Regulations, 50 Fed. Reg. 7452, 7471 (Feb. 22, 1985).


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                                 Respectfully submitted,

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                            CERTIFICATE OF COMPLIANCE

         I certify that the foregoing document complies with Local Rule 7.1(a) and this Court’s

order of January 17, 2024, because it uses 13-point Garamond font; its top margin is not less

than 1.25 inches and its bottom, left, and right margins are each one inch; and it contains 2,993

words.

         Date: February 5, 2024

                                                 /s/ Chelsea Corey
                                                 Chelsea Corey
                                                 (NC Bar No. 48838)
                                                 Counsel for Plaintiff




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                            CERTIFICATE OF SERVICE

       I hereby certify that on February 5, 2024, the foregoing pleading was filed via the

Court’s CM/ECF System, which will effect service upon all registered counsel of record.

                                              /s/ Chelsea Corey
                                              Chelsea Corey
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                          ADDENDUM




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                 Bryant v. Stein, et al., 1:23-cv-00077 (M.D.N.C.)


       CHALLENGED NC REQUIREMENT                       FDA’S TREATMENT UNDER
                                                        MIFEPRISTONE REMS

1.   In-person examination,                    REMS updated in 2016 and 2023 to
     administration, and dispensing            eliminate these requirements and establish
                                               pharmacy certification (e.g., Ex. A at 3-5,
     GS §§ 14-44.1(a)-(b), 90-21.83A(b)(2)a,
                                               12-14; Ex. H at 10; Ex. N at 3, 8; Ex. P at 7,
     90-21.83B(a)
                                               12-13, 36)

2.   In-person 72-hour advance                 Never required as part of REMS and
     consultation                              expressly rejected by FDA (e.g., Ex. P at 13)
     GS §§ 90-21.83A(b)(1)-(2), (5),
     90-21.90(a)

3.   In-person 14-day follow-up                REMS updated in 2016 to eliminate in-
                                               person follow-up requirement (e.g., Ex. H
     GS §§ 90-21.83A(b)(4)l, 90-21.83B(b),
                                               at 10; Ex. N at 8; Ex. P at 14-16)
     90-21.93(b)(8)-(9)



4.   Physician-only restriction                REMS updated in 2016 to eliminate
                                               physician-only restriction (e.g., Ex. H at 8;
     GS §§ 90-21.83A(b)(2)a, 90-21.93(b)(1)
                                               Ex. N at 6; Ex. P at 10-12)
     (and other references to “physician”)

5.   Ultrasound requirement                    Never required as part of REMS and
                                               expressly rejected by FDA (e.g., Ex. D at 6;
     GS §§ 90-21.83A(b)(2)b, 90-21.93(b)(6);
                                               Ex. E at 19; Ex. P at 12)
     10A Admin. Code § 14E.0305(d)

6.   Blood-type determination                  Never required as part of REMS despite
     requirement                               consideration of whether test results should
                                               be required as an ETASU (see 21 U.S.C.
     GS § 90-21.83B(a)(2)
                                               § 355-1(f)(3)(D))

7.   Requirement to report nonfatal            REMS updated in 2016 to eliminate
     complications and adverse events          requirement for prescribers to report
                                               nonfatal adverse events (e.g., Ex. H at 8;
     GS §§ 90-21.93(b)(10), (c)
                                               Ex. N at 6; Ex. P at 21)

     [Facility requirement, former
     GS § 14-45.1(a); repealed and no
     longer at issue]

     [Risk disclosure requirements,
     GS § 90-21.83A—not challenged as
     currently implemented by NCDHHS]




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